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UN|TED STATES OF AMER|CA,
Plaintiff,
VS. CR. NO. 04-20226-B

|Vlichae| Flerning,

Defendant.

 

ORDER ON CHANGE OF PLEA
AND SE'|'I'ING

 

This cause came to be heard on Nlay 24, 2005, the United States Attorney for this district,
Stephen Ha||, appearing for the Government and the defendant, |Vlichae| Fleming, appearing in person
and with counse|, Larry Fitzgera|d, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and entered
a plea of guilty to Count 1 of the |ndictment.

P|ea colloquy was held and the Court accepted the guilty plea.

SENTENC|NG in this case is SET for THURSDAY, AUGUST 25, 2005, at 9:00 A.M.,
in Courtroom No. 1, on the 11"‘ floor before Judge J. Daniel Breen.

Defendant is allowed to remain released on present bond.

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ENTERED this iheZ_>__+?;i`éy of rviay, 2005.

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` J. DANiEL BREEN
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This document entered on the docket s eet in compliance

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UNITED sTATE DISTRIC COURT - WETERN D'S'TRCT 0 TESSEE

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This notice confirms a copy of the document docketed as number 37 in
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Honorable J. Breen
US DISTRICT COURT

